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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF FLORIDA
WEST PALM BEACH DIVISION

www.flsb.uscourts.gov
In Re: CASE NO.: 16-20809-MAM
REDIGI, INC. Chapter 7
Debtor.
/

 

TRUSTEE’S MOTION TO DISMISS CASE

Deborah C. Menotte, Trustee in Bankruptcy for ReDigi, Inc. (the “Trustee”), by and
through undersigned counsel, hereby files this Motion to Dismiss Case, and states the following:

1. ReDigi, Inc. (the “Debtor”) filed the above-captioned Chapter 11 case on August
3, 2016 (the “Petition Date”). The case converted to a Chapter 7 case on May 24, 2019.
Deborah C. Menotte (the “Trustee”) has been appointed as the Chapter 7 Trustee.

2. The Trustee has actively undertaken attempts to administer assets in this case,
which consists primarily of intellectual property. The Trustee has communicated with all active
parties in the case, has sought information from the Debtor, has reached out to every possible
source of potential purchasers, and has ultimately determined that it would not be possible to
administer the assets of this estate for enough money to even pay what currently appear to be
secured creditors, not to mention administrative claimants.

3. By way of example, but not limitation, the law firm of Nutter, McClennen & Fish,
LLP (“Nutter”) has filed a secured proof of claim (Claim #12-1) asserting that they are secured
against the Debtor’s intellectual property in the amount of $629,805.40 for unpaid fees, expenses
and interest in connection with patent and trademark work. Nutter has taken the position that
Mass. Gen. Laws Chapter 221 §50, as well as certain case law, would make them a secured
creditor against the Debtor’s intellectual property.

4, The law firm of Adelman Matz P.C. has also asserted a secured claim (#13-1) as a

retaining lien for legal services in the amount of $102,513.88 provided pursuant to a written
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retainer agreement. It is currently not clear whether such secured interest, if valid, would affect
the ability to sell the estate’s intellectual property. Nonetheless, the Trustee has determined that
there is currently no means by which to sell any assets of the Debtor for a sum that would be
sufficient to pay all alleged secured creditors in full. Further, even without paying secured
creditors, the Trustee would be unable to obtain sufficient funds from liquidating assets to pay all
administrative claimants in full. There currently appears to be no possible way by which this
estate can be administered so that there is any distribution to unsecured creditors.

5. At this time, the Trustee is of the position that cause exists to dismiss this case
pursuant to 11 U.S.C. §707(a). The Trustee seeks to dismiss this case as dismissal appears to be
in the best interest of the bankruptcy estate and creditors. Any and all purported secured creditors
will then be free to pursue their collateral.

6. Case law, as well as prior holdings of Judge Kimball in other cases adopting such
case law, supports dismissal in cases where a non-individual Debtor has no assets, no viable
claims or causes of action, and no other money-making prospects. In such cases, Chapter 7
bankruptcy cannot serve even the limited function of allowing an entity breathing space to
marshal assets for orderly distribution to creditors. Judge Kimball initially cited to the case of Jn
re Cypress Financial Trading Company, L.P., 620 Fed.Appx 287 on Cir. 2015) in a matter
being handled by the Trustee’s undersigned counsel as his authority for dismissing a corporate
Chapter 7 case where there was no feasible possibility of paying out money to creditors. There
appears to be no reason not to apply such a legal standard in the instant case. Accordingly, this
case currently appears to be an administratively insolvent estate.

7. For the reasons stated herein, the Trustee requests that pursuant to 11 U.S.C. §707
the Court find that cause exists to dismiss this case.

WHEREFORE, Deborah C. Menotte, Trustee in Bankruptcy for ReDigi, Inc.,

respectfully requests after notice and hearing that the Court find that there is cause as broadly

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defined within to 11 U.S.C. §707 to dismiss this case, plus that the Court grant such other and

further relief as it deems just and proper.

I HEREBY CERTIFY that I am admitted to the Bar of the United States District Court

for the Southern District of Florida, and I am in compliance with the additional qualifications to

practice in this Court set forth in Local Rule 2090-1(A).

I HEREBY CERTIFY that a true and correct copy of the foregoing has been furnished to

all parties listed below in the manner indicated on this 7" day of August 2019.

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Ti

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All creditors on the Court’s mailing matrix, a copy attached hereto

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Label Matrix for local noticing
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Case 16-20809-MAM

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Tue Jul 2 13:15:25 EDT 2019

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